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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND

LOUISE M. MOSKOWITZ, as Executrix of
The Estate of Joseph J. Palagi,
       Plaintiff,

Vs.                                             Civil Action No. 1:23-cv-0390-JJM-PAS

DELAWARE LIFE INSURANCE
COMPANY,
      Defendant,
_____________________________________

DELAWARE LIFE INSURANCE
COMPANY,
     Plaintiff in Counterclaim

vs.

LOUISE M. MOSKOWITZ, as Executrix of
The Estate of Joseph J. Palagi
       Counterclaim Defendant.
_____________________________________

DELAWARE LIFE INSURANCE
COMPANY,
     Third-Party Plaintiff,

vs.

LOUISE M. MOSKOWITZ, as Trustee of the
Joseph j. Palagi Declaration of Trust – 2004;
UNCLE JOE’S LIMITED PARTNERSHIP;
And UNCLE JOE’S LIMITED
PARTNERSHIP TRUST,
       Third-Party Defendants.
______________________________________
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                                           ORDER
       Pending before the Court is Plaintiff’s Motion to Withdraw Funds from the Court

Registry. After considering the pleadings, the Court GRANTS Plaintiff’s Motion.

       It is hereby ORDERED that:

1.     The Court will allow the withdrawal of all funds from the Court Registry that were

deposited by Delaware Life in the amount of $107,638.17 along with any accrued interest.

2.     The withdrawal will be made to the Estate of Joseph J. Palagi in care of Catherine

Moskowitz, the Executrix of said Estate with the Employer Identification Number of 92-

6385274.

            30th DAY OF ________________,
SIGNED THIS _____           JANUARY       2025.




                                                           ______________________________
                                                            Chief Judge John J. McConnell, Jr.
                                                            United States District Court, District of RI




                                                           Presented By:

                                                           _/s/ Kevin M. Daley______
                                                           Kevin M. Daley (RI Bar #4944)
                                                           Daley Orton, LLC.
                                                           1383 Warwick Avenue
                                                           Warwick, RI 02888
                                                           Phone: (401) 521-5901
                                                           Fax: (401) 521-5902
                                                           kdaley@daleyorton.com
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                                 CERTIFICATE OF SERVICE

       I certify that on January 29, 2025, I electronically filed this document through the Court’s
CM/ECF system and that this document is available for viewing and downloading from the
Court’s CM/ECF system. All counsel of record have been served by electronic means.

Scott K. Pomeroy
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Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
One Boston Place, Suite 3500
Boston, MA 02108                                             /s/ Mark Tabala
                                                             ______________________________
